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 1                                      DISTRICT OF NEVADA

 2
     UNITED STATES OF AMERICA,                                Case No. 3:13-CR-00037-LRH-WGC-1
 3
                     Plaintiff,                               ORDER
 4
             v.
 5
     PAUL XAVIER ESPINOZA,
 6
                     Defendant.
 7
 8
 9           Based on the Stipulation of counsel and good cause appearing,

10           IT IS THEREFORE ORDERED that the Preliminary Hearing currently scheduled on
                                                                            October 22, 2021
     October 4, 2021 at the hour of 3:00 p.m., be vacated and continued to _________________ at
11
12   the hour of ___:___
                 1:00 pm in__.m.
                            LV Courtroom 3C before Magistrate Judge Cam Ferenbach.
                         1st day of October, 2021.
             DATED this ____
13
14
15
                                                     CAM FERENBACH
16
                                                     UNITED STATES MAGISTRATE JUDGE
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